         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 1 of 24 PageID# 3365
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District
                                                     __________         of of
                                                                 District  Virginia
                                                                              __________
                  United States of America                                 )
                             v.                                            )
                    Cristian Arevalo Arias                                 )        Case No. 1:21-CR-260-05
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Prince William County Adult Detention Center
        9320 Lee Ave., Manassas, VA 20110
                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Nathalie Williams (DOB 4/12/1996), from June 2019 to present.

Place: U.S. District Court for the Eastern District of Virginia                     Date and Time: 09/05/2023 12:00 pm
         Clerk's Office
         401 Courthouse Sq., Alexandria, VA 22314

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:        
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)    Cristian Arevalo Arias
                                                                                      , who requests this subpoena, are:
 Daniel Goldman, 421 King Street, Suite 505, Alexandria, VA 22314; dan@dangoldmanlaw.com; (202) 677-5709


                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte; 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 2 of 24 PageID# 3366
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No. 1:21-CR-260-05

                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                            .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                   for travel and $                             for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 3 of 24 PageID# 3367
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 4 of 24 PageID# 3368
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District
                                                     __________         of of
                                                                 District  Virginia
                                                                              __________
                  United States of America                                 )
                             v.                                            )
                    Cristian Arevalo Arias                                 )        Case No. 1:21-CR-260-05
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Prince William County Adult Detention Center
        9320 Lee Ave., Manassas, VA 20110
                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Mario Guevara Rivera (DOB 5/31/1995), from June 2019 to the present.

Place: U.S. District Court for the Eastern District of Virginia                     Date and Time: 09/05/2023 12:00 pm
         Clerk's Office
         401 Courthouse Sq., Alexandria, VA 22314

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:        
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)    Cristian Arevalo Arias
                                                                                      , who requests this subpoena, are:
 Daniel Goldman, 421 King Street, Suite 505, Alexandria, VA 22314; dan@dangoldmanlaw.com; (202) 677-5709


                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte; 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 5 of 24 PageID# 3369
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No. 1:21-CR-260-05

                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

          ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                            .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                   for travel and $                             for services, for a total of $          0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 6 of 24 PageID# 3370
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 7 of 24 PageID# 3371
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District
                                                     __________         of of
                                                                 District  Virginia
                                                                              __________
                  United States of America                                 )
                             v.                                            )
                    Cristian Arevalo Arias                                 )        Case No. 1:21-CR-260-05
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Fairfax Adult Detention Center
        10520 Judicial Drive, Fairfax, VA 22030
                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Abner Molina Rodriguez (DOB 8/27/1997) from June 2019 to present.

Place: U.S. District Court for the Eastern District of Virginia                     Date and Time: 09/05/2023 12:00 pm
         Clerk's Office
         401 Courthouse Sq., Alexandria, VA 22314

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:       
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)
                                                                                      , who requests this subpoena, are:



                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte; 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 8 of 24 PageID# 3372
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe N)

Case T oE 1:21-CR-260-05

                                                             SUB B PO
                                                                    B PO
                                                                       ENUA TN

          Rhis subpoena for Def n dat (aNemN Nmof paf emarNrpdsaN(af ewh
_ as received b. me on Dmf rdh                                E

          ’ I served the subpoena b. deliverinUa cop. to the named person as follo_ s:


                                                                                 on Dmf rdh                                    wor

          ’ I returned the subpoena unegecuted because:
                                                                                                                                            E

          k nless the subpoena _ as issued on behalf of the k nited States, or one of its officers or aUents, I have also
          tendered to the _ itness fees for one da. Fs attendance, and the mileaUe allo_ ed b. la_ , in the amount of
          1                                    E

7 . fees are 1                                 for travel and 1                               for services, for a total of 1         0.00   E


          I declare under penalt. of perjur. that this information is trueE


Date:
                                                                                                    i du dubc cN) ef roud



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Additional information reUardinUattempted service, etcE:
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 9 of 24 PageID# 3373
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe 2)



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     desiUnatesERhe court ma. direct the _ itness to produce the desiUnated items in court before trial or before the. are to be offered in
     evidenceEq hen the items arrive, the court ma. permit the parties and their attorne. s to inspect all or part of themE

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                      ( FDLJ) LowOu7ROEI ngFRoMdOn motion made promptl. , the court ma. ; uash or modif. the subpoena if compliance
     _ ould be unreasonable or oppressiveE

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     subpoena re; uirinUthe production of personal or confidential information about a victim ma. be served on a third part. onl. b. court
     orderEBefore enterinUthe order and unless there are egceptional circumstances, the court must re; uire UivinUnotice to the victim so that
     the victim can move to ; uash or modif. the subpoena or other_ ise objectE

eDh ERCf Lt RdA marshal, a deput. marshal, or an. nonpart. _ ho is at least - 8 . ears old ma. serve a subpoenaERhe server must deliver a cop.
of the subpoena to the _ itness and must tender to the _ itness one da. Fs _ itnessxattendance fee and the leUal mileaUe allo_ anceERhe server
need not tender the attendance fee or mileaUe allo_ ance _ hen the k nited States, a federal officer, or a federal aUenc. has re; uested the
subpoenaE

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issued b. a federal court in that districtEA maUistrate judUe ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a
subpoena issued b. that maUistrate judUe as provided in N8 k ESECE’ $2$(e)E
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 10 of 24 PageID# 3374
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


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                                                                  for the
                                                       Eastern District
                                                     §§§§§§§§§§         of of
                                                                 District  Virginia
                                                                              §§§§§§§§§§
                  k nited States of America                                 )
                              vE                                            )
                    Cristian Arevalo Arias                                  )        Case T oE 1:21-CR-260-05
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Ro:     Prince William County Adult Detention Center
        9320 Lee Ave., Manassas, VA 20110
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      QB / 2 UN TB ( ( 2 8 b Nb to produce at the time, date, and place set forth belo_ the follo_ inUbooys, papers,
documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Abner Molina Rodriguez (DOB 8/27/1997), from June 2019 to the present.

Place: U.S. District Court for the Eastern District of Virginia                       Date and Rime: 09/05/2023 12:00 pm
         Clerk's Office
         401 Courthouse Sq., Alexandria, VA 22314

        Certain provisions of ' edEWECrimEPE- 3 are attached, includinUWule - 3(c)(N), relatinUto . our abilit. to file a
motion to ; uash or modif. the subpoenawWule - 3(d) and (e), _ hich Uovern service of subpoenaswand Wule - 3(U),
relatinUto . our dut. to respond to this subpoena and the potential conse; uences of not doinUsoE
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Date:         
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Rhe name, address, exmail, and telephone number of the attorne. representinUDef n dat (aLf urwh     Cristian Arevalo Arias
                                                                                        , _ ho re; uests this subpoena, are:
 Daniel Goldman, 421 King Street, Suite 505, Alexandria, VA 22314; dan@dangoldmanlaw.com; (202) 677-5709


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Before re; uestinUand servinUa subpoena pursuant to ' edEWECrimEPE- 3(c), the part. seeyinUthe subpoena is advised to
consult the rules of practice of the court in _ hich the criminal proceedinUis pendinUto determine _ hether an. local rules
or orders establish re; uirements in connection _ ith the issuance of such a subpoenaEIf no local rules or orders Uovern
practice under Wule - 3(c), counsel should asy the assiUned judUe _ hether the court reUulates practice under Wule - 3(c) to
- ) re; uire prior judicial approval for the issuance of the subpoena, either on notice or eg parte; N) specif. _ here the
documents must be returned (eEUE, to the court clery, the chambers of the assiUned judUe, or counselFs office)wand 2)
re; uire that counsel _ ho receives produced documents provide them to opposinUcounsel absent a disclosure obliUation
under ' edEWECrimEPE- $E

Please note that Wule - 3(c) (attached) provides that a subpoena for the production of certain information about a victim
ma. not be issued unless first approved b. separate court orderE
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 11 of 24 PageID# 3375
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe N)

Case T oE 1:21-CR-260-05

                                                             SUB B PO
                                                                    B PO
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          Rhis subpoena for Def n dat (aNemN Nmof paf emarNrpdsaN(af ewh
_ as received b. me on Dmf rdh                                E

          ’ I served the subpoena b. deliverinUa cop. to the named person as follo_ s:


                                                                                 on Dmf rdh                                    wor

          ’ I returned the subpoena unegecuted because:
                                                                                                                                            E

          k nless the subpoena _ as issued on behalf of the k nited States, or one of its officers or aUents, I have also
          tendered to the _ itness fees for one da. Fs attendance, and the mileaUe allo_ ed b. la_ , in the amount of
          1                                    E

7 . fees are 1                                 for travel and 1                               for services, for a total of 1         0.00   E


          I declare under penalt. of perjur. that this information is trueE


Date:
                                                                                                    i du dubc cN) ef roud



                                                                                               S uNerdmef n d f emrNrpd




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Additional information reUardinUattempted service, etcE:
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 12 of 24 PageID# 3376
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe 2)



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     ei h oOl RoRCM,dA subpoena ma. order the _ itness to produce an. booys, papers, documents, data, or other objects the subpoena
     desiUnatesERhe court ma. direct the _ itness to produce the desiUnated items in court before trial or before the. are to be offered in
     evidenceEq hen the items arrive, the court ma. permit the parties and their attorne. s to inspect all or part of themE

     erh 1 I Mp7LowOFCO
                      ( FDLJ) LowOu7ROEI ngFRoMdOn motion made promptl. , the court ma. ; uash or modif. the subpoena if compliance
     _ ould be unreasonable or oppressiveE

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                                                                         ALt uLY dAfter a complaint, indictment, or information is filed, a
     subpoena re; uirinUthe production of personal or confidential information about a victim ma. be served on a third part. onl. b. court
     orderEBefore enterinUthe order and unless there are egceptional circumstances, the court must re; uire UivinUnotice to the victim so that
     the victim can move to ; uash or modif. the subpoena or other_ ise objectE

eDh ERCf Lt RdA marshal, a deput. marshal, or an. nonpart. _ ho is at least - 8 . ears old ma. serve a subpoenaERhe server must deliver a cop.
of the subpoena to the _ itness and must tender to the _ itness one da. Fs _ itnessxattendance fee and the leUal mileaUe allo_ anceERhe server
need not tender the attendance fee or mileaUe allo_ ance _ hen the k nited States, a federal officer, or a federal aUenc. has re; uested the
subpoenaE

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     ei h oOu7RO
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     StatesE

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ewh TFouRY gudRhe court (other than a maUistrate judUe) ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a subpoena
issued b. a federal court in that districtEA maUistrate judUe ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a
subpoena issued b. that maUistrate judUe as provided in N8 k ESECE’ $2$(e)E
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 13 of 24 PageID# 3377
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      k T IRMD SRARMS DISRWICR COk WR
                                                                  for the
                                                       Eastern District
                                                     §§§§§§§§§§         of of
                                                                 District  Virginia
                                                                              §§§§§§§§§§
                  k nited States of America                                 )
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                    Cristian Arevalo Arias                                  )        Case T oE 1:21-CR-260-05
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Ro:     Rappahannock Regional Jail
        1745 Jefferson Davis Hwy, Stafford, VA 22554
                                                      DAf n dat (aLduct eart aCRt n arRNcacoKLt def aNcamNudOrdmh

      QB / 2 UN TB ( ( 2 8 b Nb to produce at the time, date, and place set forth belo_ the follo_ inUbooys, papers,
documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Mario Guevara Rivera (DOB 5/31/1995), from July 2021 to the present.

Place: U.S. District Court for the Eastern District of Virginia                       Date and Rime: 09/05/2023 12:00 pm
         Clerk's Office
         401 Courthouse Sq., Alexandria, VA 22314

        Certain provisions of ' edEWECrimEPE- 3 are attached, includinUWule - 3(c)(N), relatinUto . our abilit. to file a
motion to ; uash or modif. the subpoenawWule - 3(d) and (e), _ hich Uovern service of subpoenaswand Wule - 3(U),
relatinUto . our dut. to respond to this subpoena and the potential conse; uences of not doinUsoE
           Di FUTh

Date:         
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Rhe name, address, exmail, and telephone number of the attorne. representinUDef n dat (aLf urwh     Cristian Arevalo Arias
                                                                                        , _ ho re; uests this subpoena, are:
 Daniel Goldman, 421 King Street, Suite 505, Alexandria, VA 22314; dan@dangoldmanlaw.com; (202) 677-5709


                                  8 FuLt ROuFOu7FpROy 7FO I pRO
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Before re; uestinUand servinUa subpoena pursuant to ' edEWECrimEPE- 3(c), the part. seeyinUthe subpoena is advised to
consult the rules of practice of the court in _ hich the criminal proceedinUis pendinUto determine _ hether an. local rules
or orders establish re; uirements in connection _ ith the issuance of such a subpoenaEIf no local rules or orders Uovern
practice under Wule - 3(c), counsel should asy the assiUned judUe _ hether the court reUulates practice under Wule - 3(c) to
- ) re; uire prior judicial approval for the issuance of the subpoena, either on notice or eg parte; N) specif. _ here the
documents must be returned (eEUE, to the court clery, the chambers of the assiUned judUe, or counselFs office)wand 2)
re; uire that counsel _ ho receives produced documents provide them to opposinUcounsel absent a disclosure obliUation
under ' edEWECrimEPE- $E

Please note that Wule - 3(c) (attached) provides that a subpoena for the production of certain information about a victim
ma. not be issued unless first approved b. separate court orderE
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 14 of 24 PageID# 3378
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe N)

Case T oE 1:21-CR-260-05

                                                             SUB B PO
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          Rhis subpoena for Def n dat (aNemN Nmof paf emarNrpdsaN(af ewh
_ as received b. me on Dmf rdh                                E

          ’ I served the subpoena b. deliverinUa cop. to the named person as follo_ s:


                                                                                 on Dmf rdh                                    wor

          ’ I returned the subpoena unegecuted because:
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          k nless the subpoena _ as issued on behalf of the k nited States, or one of its officers or aUents, I have also
          tendered to the _ itness fees for one da. Fs attendance, and the mileaUe allo_ ed b. la_ , in the amount of
          1                                    E

7 . fees are 1                                 for travel and 1                               for services, for a total of 1         0.00   E


          I declare under penalt. of perjur. that this information is trueE


Date:
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Additional information reUardinUattempted service, etcE:
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 15 of 24 PageID# 3379
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe 2)



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     ei h oOl RoRCM,dA subpoena ma. order the _ itness to produce an. booys, papers, documents, data, or other objects the subpoena
     desiUnatesERhe court ma. direct the _ itness to produce the desiUnated items in court before trial or before the. are to be offered in
     evidenceEq hen the items arrive, the court ma. permit the parties and their attorne. s to inspect all or part of themE

     erh 1 I Mp7LowOFCO
                      ( FDLJ) LowOu7ROEI ngFRoMdOn motion made promptl. , the court ma. ; uash or modif. the subpoena if compliance
     _ ould be unreasonable or oppressiveE

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                                                                         ALt uLY dAfter a complaint, indictment, or information is filed, a
     subpoena re; uirinUthe production of personal or confidential information about a victim ma. be served on a third part. onl. b. court
     orderEBefore enterinUthe order and unless there are egceptional circumstances, the court must re; uire UivinUnotice to the victim so that
     the victim can move to ; uash or modif. the subpoena or other_ ise objectE

eDh ERCf Lt RdA marshal, a deput. marshal, or an. nonpart. _ ho is at least - 8 . ears old ma. serve a subpoenaERhe server must deliver a cop.
of the subpoena to the _ itness and must tender to the _ itness one da. Fs _ itnessxattendance fee and the leUal mileaUe allo_ anceERhe server
need not tender the attendance fee or mileaUe allo_ ance _ hen the k nited States, a federal officer, or a federal aUenc. has re; uested the
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ewh TFouRY gudRhe court (other than a maUistrate judUe) ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a subpoena
issued b. a federal court in that districtEA maUistrate judUe ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a
subpoena issued b. that maUistrate judUe as provided in N8 k ESECE’ $2$(e)E
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 16 of 24 PageID# 3380
 AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                       k T IRMD SRARMS DISRWICR COk WR
                                                                   for the
                                                        Eastern District
                                                      §§§§§§§§§§         of of
                                                                  District  Virginia
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                   k nited States of America                                 )
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                     Cristian Arevalo Arias                                  )        Case T oE 1:21-CR-260-05
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       Farmville Detention Center
 Ro:
       508 Waterworks Rd., Farmville, VA 23901
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       QB / 2 UN TB ( ( 2 8 b Nb to produce at the time, date, and place set forth belo_ the follo_ inUbooys, papers,
 documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Juan Vasquez (DOB 00/00/1981), from September 2019 to the present.

 Place: U.S. District Court for the Eastern District of Virginia                       Date and Rime: 09/05/2023 12:00 pm
          Clerk's Office
          401 Courthouse Sq., Alexandria, VA 22314

         Certain provisions of ' edEWECrimEPE- 3 are attached, includinUWule - 3(c)(N), relatinUto . our abilit. to file a
 motion to ; uash or modif. the subpoenawWule - 3(d) and (e), _ hich Uovern service of subpoenaswand Wule - 3(U),
 relatinUto . our dut. to respond to this subpoena and the potential conse; uences of not doinUsoE
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 Date:       
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 Rhe name, address, exmail, and telephone number of the attorne. representinUDef n dat (aLf urwh     Cristian Arevalo Arias
                                                                                         , _ ho re; uests this subpoena, are:
  Daniel Goldman, 421 King Street, Suite 505, Alexandria, VA 22314


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 Before re; uestinUand servinUa subpoena pursuant to ' edEWECrimEPE- 3(c), the part. seeyinUthe subpoena is advised to
 consult the rules of practice of the court in _ hich the criminal proceedinUis pendinUto determine _ hether an. local rules
 or orders establish re; uirements in connection _ ith the issuance of such a subpoenaEIf no local rules or orders Uovern
 practice under Wule - 3(c), counsel should asy the assiUned judUe _ hether the court reUulates practice under Wule - 3(c) to
 - ) re; uire prior judicial approval for the issuance of the subpoena, either on notice or eg parte; N) specif. _ here the
 documents must be returned (eEUE, to the court clery, the chambers of the assiUned judUe, or counselFs office)wand 2)
 re; uire that counsel _ ho receives produced documents provide them to opposinUcounsel absent a disclosure obliUation
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 Please note that Wule - 3(c) (attached) provides that a subpoena for the production of certain information about a victim
 ma. not be issued unless first approved b. separate court orderE
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 17 of 24 PageID# 3381
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe N)

Case T oE 1:21-CR-260-05

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          Rhis subpoena for Def n dat (aNemN Nmof paf emarNrpdsaN(af ewh
_ as received b. me on Dmf rdh                                E

          ’ I served the subpoena b. deliverinUa cop. to the named person as follo_ s:


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          ’ I returned the subpoena unegecuted because:
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          k nless the subpoena _ as issued on behalf of the k nited States, or one of its officers or aUents, I have also
          tendered to the _ itness fees for one da. Fs attendance, and the mileaUe allo_ ed b. la_ , in the amount of
          1                                    E

7 . fees are 1                                 for travel and 1                               for services, for a total of 1         0.00   E


          I declare under penalt. of perjur. that this information is trueE


Date:
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Additional information reUardinUattempted service, etcE:
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 18 of 24 PageID# 3382
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe 2)



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     ei h oOl RoRCM,dA subpoena ma. order the _ itness to produce an. booys, papers, documents, data, or other objects the subpoena
     desiUnatesERhe court ma. direct the _ itness to produce the desiUnated items in court before trial or before the. are to be offered in
     evidenceEq hen the items arrive, the court ma. permit the parties and their attorne. s to inspect all or part of themE

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     _ ould be unreasonable or oppressiveE

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                                                                         ALt uLY dAfter a complaint, indictment, or information is filed, a
     subpoena re; uirinUthe production of personal or confidential information about a victim ma. be served on a third part. onl. b. court
     orderEBefore enterinUthe order and unless there are egceptional circumstances, the court must re; uire UivinUnotice to the victim so that
     the victim can move to ; uash or modif. the subpoena or other_ ise objectE

eDh ERCf Lt RdA marshal, a deput. marshal, or an. nonpart. _ ho is at least - 8 . ears old ma. serve a subpoenaERhe server must deliver a cop.
of the subpoena to the _ itness and must tender to the _ itness one da. Fs _ itnessxattendance fee and the leUal mileaUe allo_ anceERhe server
need not tender the attendance fee or mileaUe allo_ ance _ hen the k nited States, a federal officer, or a federal aUenc. has re; uested the
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                      EuMuRpdA subpoena re; uirinUa _ itness to attend a hearinUor trial ma. be served at an. place _ ithin the k nited
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subpoena issued b. that maUistrate judUe as provided in N8 k ESECE’ $2$(e)E
         Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 19 of 24 PageID# 3383
 AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


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                                                        Eastern District
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                                                                  District  Virginia
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                   k nited States of America                                 )
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                     Cristian Arevalo Arias                                  )        Case T oE 1:21-CR-260-05
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 Ro:     Northern Neck Regional Jail
         3908 Richmond Rd., Warsaw, VA 22572
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       QB / 2 UN TB ( ( 2 8 b Nb to produce at the time, date, and place set forth belo_ the follo_ inUbooys, papers,
 documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Mario Guevara Rivera (DOB 5/31/1995), from July 2022 to the present.

 Place: U.S. District Court for the Eastern District of Virginia                       Date and Rime: 09/05/2023 12:00 pm
          Clerk's Office
          401 Courthouse Sq., Alexandria, VA 22314

         Certain provisions of ' edEWECrimEPE- 3 are attached, includinUWule - 3(c)(N), relatinUto . our abilit. to file a
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 relatinUto . our dut. to respond to this subpoena and the potential conse; uences of not doinUsoE
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 Date:        
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 Rhe name, address, exmail, and telephone number of the attorne. representinUDef n dat (aLf urwh     Cristian Arevalo Arias
                                                                                         , _ ho re; uests this subpoena, are:
  Daniel Goldman, 421 King Street, Suite 505, Alexandria, VA 22314; dan@dangoldmanlaw.com; (202) 677-5709


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        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 20 of 24 PageID# 3384
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe N)

Case T oE 1:21-CR-260-05

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          Rhis subpoena for Def n dat (aNemN Nmof paf emarNrpdsaN(af ewh
_ as received b. me on Dmf rdh                                E

          ’ I served the subpoena b. deliverinUa cop. to the named person as follo_ s:


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          k nless the subpoena _ as issued on behalf of the k nited States, or one of its officers or aUents, I have also
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          1                                    E

7 . fees are 1                                 for travel and 1                               for services, for a total of 1         0.00   E


          I declare under penalt. of perjur. that this information is trueE


Date:
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Additional information reUardinUattempted service, etcE:
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 21 of 24 PageID# 3385
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe 2)



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     ei h oOl RoRCM,dA subpoena ma. order the _ itness to produce an. booys, papers, documents, data, or other objects the subpoena
     desiUnatesERhe court ma. direct the _ itness to produce the desiUnated items in court before trial or before the. are to be offered in
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                      ( FDLJ) LowOu7ROEI ngFRoMdOn motion made promptl. , the court ma. ; uash or modif. the subpoena if compliance
     _ ould be unreasonable or oppressiveE

     evh EI ngFRoMO JFCOSRCpFoM,O FCOTFoJLDRouLM,OoJFCY MuLFoO  2 nFI uOMO
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     subpoena re; uirinUthe production of personal or confidential information about a victim ma. be served on a third part. onl. b. court
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need not tender the attendance fee or mileaUe allo_ ance _ hen the k nited States, a federal officer, or a federal aUenc. has re; uested the
subpoenaE

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     ei h oOu7RO
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                      EuMuRpdA subpoena re; uirinUa _ itness to attend a hearinUor trial ma. be served at an. place _ ithin the k nited
     StatesE

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ewh TFouRY gudRhe court (other than a maUistrate judUe) ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a subpoena
issued b. a federal court in that districtEA maUistrate judUe ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a
subpoena issued b. that maUistrate judUe as provided in N8 k ESECE’ $2$(e)E
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 22 of 24 PageID# 3386
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case


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                                                                   for the
                                                       Eastern District
                                                     §§§§§§§§§§         of of
                                                                 District  Virginia
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                  k nited States of America                                 )
                              vE                                            )
                    Cristian Arevalo Arias                                  )        Case T oE 1:21-CR-260
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                                                                                             BU
                                              B 0 . NTj EO8 O
                                                            2OTU ( 8 2 GO  T2 EN
Ro:     Pamunkey Regional Jail
        7240 Courtland Farm Rd., Hanover, VA 23069
                                                      DAf n dat (aLduct eart aCRt n arRNcacoKLt def aNcamNudOrdmh

      QB / 2 UN TB ( ( 2 8 b Nb to produce at the time, date, and place set forth belo_ the follo_ inUbooys, papers,
documents, data, or other objects:
Records of disciplinary infractions, keep separates, housing assignments, and programming, as well as recordings of
phone calls, emails, and text messages for: Mario Guevara Rivera (DOB 5/31/1995), from January 2021 to the present.

Place: U.S. District Court for the Eastern District of Virginia                       Date and Rime: 09/05/2023 12:00 pm
         Clerk's Office
         401 Courthouse Sq., Alexandria, VA 22314

        Certain provisions of ' edEWECrimEPE- 3 are attached, includinUWule - 3(c)(N), relatinUto . our abilit. to file a
motion to ; uash or modif. the subpoenawWule - 3(d) and (e), _ hich Uovern service of subpoenaswand Wule - 3(U),
relatinUto . our dut. to respond to this subpoena and the potential conse; uences of not doinUsoE
           Di FUTh

Date:         
                                                                                      g TFl k ay v ag y , l ’


                                                                                                       i N) ef roudat (ag pduPat uaE dLorwag pduP


Rhe name, address, exmail, and telephone number of the attorne. representinUDef n dat (aLf urwh     Cristian Arevalo Arias
                                                                                        , _ ho re; uests this subpoena, are:
 Daniel Goldman, 421 King Street, Suite 505, Alexandria, VA 22314; dan@dangoldmanlaw.com; (202) 677-5709


                                  8 FuLt ROuFOu7FpROy 7FO I pRO
                                                              u7LpO
                                                                  JFCY OuFOCR3I RpuO
                                                                                   MO pI ngFRoM
Before re; uestinUand servinUa subpoena pursuant to ' edEWECrimEPE- 3(c), the part. seeyinUthe subpoena is advised to
consult the rules of practice of the court in _ hich the criminal proceedinUis pendinUto determine _ hether an. local rules
or orders establish re; uirements in connection _ ith the issuance of such a subpoenaEIf no local rules or orders Uovern
practice under Wule - 3(c), counsel should asy the assiUned judUe _ hether the court reUulates practice under Wule - 3(c) to
- ) re; uire prior judicial approval for the issuance of the subpoena, either on notice or eg parte; N) specif. _ here the
documents must be returned (eEUE, to the court clery, the chambers of the assiUned judUe, or counselFs office)wand 2)
re; uire that counsel _ ho receives produced documents provide them to opposinUcounsel absent a disclosure obliUation
under ' edEWECrimEPE- $E

Please note that Wule - 3(c) (attached) provides that a subpoena for the production of certain information about a victim
ma. not be issued unless first approved b. separate court orderE
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 23 of 24 PageID# 3387
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe N)

Case T oE 1:21-CR-260

                                                             SUB B PO
                                                                    B PO
                                                                       ENUA TN

          Rhis subpoena for Def n dat (aNemN Nmof paf emarNrpdsaN(af ewh
_ as received b. me on Dmf rdh                                E

          ’ I served the subpoena b. deliverinUa cop. to the named person as follo_ s:


                                                                                 on Dmf rdh                                    wor

          ’ I returned the subpoena unegecuted because:
                                                                                                                                            E

          k nless the subpoena _ as issued on behalf of the k nited States, or one of its officers or aUents, I have also
          tendered to the _ itness fees for one da. Fs attendance, and the mileaUe allo_ ed b. la_ , in the amount of
          1                                    E

7 . fees are 1                                 for travel and 1                               for services, for a total of 1         0.00   E


          I declare under penalt. of perjur. that this information is trueE


Date:
                                                                                                    i du dubc cN) ef roud



                                                                                               S uNerdmef n d f emrNrpd




                                                                                                    i du dubcaf mmudcc

Additional information reUardinUattempted service, etcE:
        Case 1:21-cr-00260-LMB Document 448 Filed 08/28/23 Page 24 of 24 PageID# 3388
AO 89B (07/16) Subpoena to Produce Documents, Information, or Objects in a Criminal Case (PaUe 2)



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               b Ft I Y RoupO
                            MoDO
                               B nVRt upd

     ei h oOl RoRCM,dA subpoena ma. order the _ itness to produce an. booys, papers, documents, data, or other objects the subpoena
     desiUnatesERhe court ma. direct the _ itness to produce the desiUnated items in court before trial or before the. are to be offered in
     evidenceEq hen the items arrive, the court ma. permit the parties and their attorne. s to inspect all or part of themE

     erh 1 I Mp7LowOFCO
                      ( FDLJ) LowOu7ROEI ngFRoMdOn motion made promptl. , the court ma. ; uash or modif. the subpoena if compliance
     _ ould be unreasonable or oppressiveE

     evh EI ngFRoMO JFCOSRCpFoM,O FCOTFoJLDRouLM,OoJFCY MuLFoO  2 nFI uOMO
                                                                         ALt uLY dAfter a complaint, indictment, or information is filed, a
     subpoena re; uirinUthe production of personal or confidential information about a victim ma. be served on a third part. onl. b. court
     orderEBefore enterinUthe order and unless there are egceptional circumstances, the court must re; uire UivinUnotice to the victim so that
     the victim can move to ; uash or modif. the subpoena or other_ ise objectE

eDh ERCf Lt RdA marshal, a deput. marshal, or an. nonpart. _ ho is at least - 8 . ears old ma. serve a subpoenaERhe server must deliver a cop.
of the subpoena to the _ itness and must tender to the _ itness one da. Fs _ itnessxattendance fee and the leUal mileaUe allo_ anceERhe server
need not tender the attendance fee or mileaUe allo_ ance _ hen the k nited States, a federal officer, or a federal aUenc. has re; uested the
subpoenaE

eRh S,MtRO
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           ERCf Lt Rd

     ei h oOu7RO
               / oLuRDO
                      EuMuRpdA subpoena re; uirinUa _ itness to attend a hearinUor trial ma. be served at an. place _ ithin the k nited
     StatesE

     erh oO
          MOPFCRLwoO
                   TFI ouC) dIf the _ itness is in a foreiUn countr. , N8 k ESECE’ - 382 Uoverns the subpoena6s serviceE

ewh TFouRY gudRhe court (other than a maUistrate judUe) ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a subpoena
issued b. a federal court in that districtEA maUistrate judUe ma. hold in contempt a _ itness _ ho, _ ithout ade; uate egcuse, disobe. s a
subpoena issued b. that maUistrate judUe as provided in N8 k ESECE’ $2$(e)E
